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July 8, 2021

BY ECF AND EMAIL

The Honorable Robert D. Drain
United States District Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140

Re:    In re 96 Wythe Acquisition LLC, Case No. 21-22108 (RDD)

Dear Judge Drain,
        As the Court knows, we represent Benefit Street Partners Realty Operating
Partnership, L.P. (“Benefit Street”) in this chapter 11 case. I write under the Court’s Chambers
Rules to request a telephonic discovery conference with the Court relating to the opposed motion
of Constantino Sagonas (“Receiver”) for an order approving his accounting, authorizing additional
fees, and releasing him from his bond [ECF No. 29] (“Motion”).
        At earlier discovery conferences, the Court directed the Debtor to produce bank statements
covering the full period of the receivership. From these bank statements, which were in the name
of The Williamsburg Hotel BK LLC (“Hotel Manager”), Benefit Street identified two sets of
transactions that required additional investigation: separate transfers into the account of
$1,438,000 in April 2020 and $149,900 in July 2020, both of which were then transferred out to
unidentified accounts on the same day or within two days.
        At a subsequent discovery conference, the Court directed the Debtor to provide an
explanation of these two transactions. In response, the Debtor represented that each related to a
separate “government loan,” but could not respond to questions concerning the nature of these
loans. Benefit Street’s internet research suggested they were loans made under the Paycheck
Protection Program or related programs.
       At the June 28 status conference the Court directed the Debtor to provide information
concerning the loans including the “documentation behind” the loans. 2021 Transcript at 13:5-10,
17-19. The Receiver confirmed that he was unaware of any PPP loan (or other loans) having been
obtained. Id. at 13:20-22.
       Despite the Court’s direction and several written requests from Benefit Street, the Debtor
did not even “address” the production of these additional documents for more than a week,
ultimately producing 11 and a half pages of additional materials on Tuesday, July 6. These include
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a 6-page “Paycheck Protection Program Borrower Application Form” (attached as Exhibit A) and
a 1-and-a-half-page website printout of an unprocessed loan application, which—only based on
the file name—appears to relate to a Small Business Administration Emergency Injury Disaster
Loan (“EIDL”) application (attached as Exhibit B). It also produced a 4-page “Articles of
Organization of The Williamsburg Hotel BK LLC.” It did not produce any of the final
documentation of either loan.
         The PPP loan application is made in the name of the Hotel Manager, but expressly indicates
that entity’s “DBA or Tradename” is “The Williamsburg Hotel.” See Ex. A at 1. It offers a payroll
computation based on a “Number of Employees” of 130, which roughly parallels the number of
employees contained in payroll documentation separately produced by the Debtor. The amount of
the “Loan Request” it specifies is $1,260,840.01, which does not, however, match the amount of
the April transactions in the Hotel Manager’s account ($1,438,000). Although required to name
affiliates under common ownership with the applicant, the application does not identify the Debtor
as an affiliate – or mention it at all. The use of “the Williamsburg Hotel” tradename, together with
the failure to identify the Debtor as an affiliate and the identification of a number of employees
much like the Debtor’s direct employees at least suggest that the application was made on behalf
of or in the stead of the Debtor. As the Court may be aware, PPP loans are based on a formula tied
to the applicant’s employees.
        As part of the application, Toby Moskovits, one of the Debtor’s controlling equity holders,
certified that the proceeds of the loan would be used “to retain workers and maintain payroll or
make mortgage interest payments, lease payments, and utility payments,” each of which are also
identified on the first page of the application as the “Purpose of the loan.” Ex. A at 1, 2. She
further certified that she would provide the PPP lender with “documentation verifying the number
of full-time equivalent employees on the Applicant’s payroll as well as the dollar amounts of
payroll costs, covered mortgage interest payments, covered rent payments, and covered utilities
for the eight-week period following this loan.” Id. at 2. Despite this being required documentation
given to the PPP lender in support of the loan, the Debtor has refused to produce this information.
In addition, the application appears to contain several unmarked and unexplained redactions.
These include the names of the primary contact and his or her contact information, tax
identification numbers and ownership percentages on the front page of the application. It also
includes an addendum concerning EIDL loans provided before the PPP loan application. See Ex. A
at 6. That schedule contains a single word “CEO,” but the remaining text appears to have been
redacted. It is unclear what basis there would have been for any of these redactions or whether are
other, less obvious redactions. Id.
       With respect to the EIDL loan, the Debtor provided what appears to be a 1-1/2 page
incomplete and an unprocessed loan application. See Ex. B. The document contains virtually no
information about the basis of the EIDL loan. For example, the printout reflects that the loan was
“secured with all business assets and [p]ersonal guarantees” but contains no information about



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what assets or personal guarantees secured the loan. Moreover, the document itself states that,
when it was printed, the applicant had “Not Started” the “Step” to “Review and Sign Closing
Documents” and that the application was still “being processed.”
       Faced with the many questions raised by this sparse and delayed production, Benefit Street
wrote to the Debtor on the evening of July 6, requesting that it produce the following additional
information:
                •    The payroll and all other information submitted to the lender in connection with the
                     PPP loan, which should include documents sufficient to show whose employees
                     and expenses the application was based on;
                •    The signed and final application for the EIDL loan, together with the supporting
                     information submitted to the lender; and
                •    Unredacted copies of the documents produced.
       Given the delays in compliance with the Court’s own production order, it informed the
Debtor that if the materials were not produced by 5PM on July 7, it would raise the issue with the
Court. As of the filing of this letter, the Debtor has not responded in any way. The Debtor’s delays
in providing the court-ordered loan documentation threaten the timing of the July 20 hearing on
the Receiver’s Motion.
        Without complete documentation relating to these government loans, each of which were
made during the receivership, Benefit Street cannot determine whether the loan proceeds were
obtained based upon the operations and expenses of the Debtor’s Hotel and should have flowed
through the receivership estate for the Hotel’s benefit. Similarly, this additional information is
required to properly assess whether the Receiver complied with his fundamental obligation to “take
charge” of the Hotel and “demand, collect and receive” all funds due the Hotel so that he could
properly pay expenses of the Hotel. Receiver Order at 3, 4-5 [ECF No. 29-4]. Given the potential
for abuse of the PPP program at the direct expense of the Debtor’s Hotel, this information should
be provided promptly. Importantly, Benefit Street seeks the information already provided to third
party lenders which should have been readily available.
      We are available for a conference at the Court’s convenience, and we thank the Court in
advance for its consideration of these issues.
Respectfully submitted,

/s/ P. Bradley O’Neill
P. Bradley O'Neill

Cc:       Mark Frankel, Esq.
          Jason Nagi, Esq.
          Douglas Kellner, Esq.



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